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                Circuit Court of the First Circuit-THE JUDICIARY• STATE OF HAWAl'I
                777 PUNCHBOWL STREET • HONOLULU, HAWAl' I 96813-5093 • TELEPHONE {808) 539-4333 • FAX (808) 539-4322

Patsy K. Nakamoto
      COU RT ADMINISTRATOR



                                              March 2, 2018
                                                                FILED INTHE
                                                    UNITED ST/\TES DISTRICT COURT
     ORIGINAL V IA HAND DELIVERY                      . 11~•0 1r: QF HAWAII


                                                               MAR') 2. 2018               ~
                                                     at   ?J o·c1oci\ arid ~min. f    M.
     Ms. Sue Beitia, Chief Clerk                -    SUE BEITIA, CLERK
     Office of the Clerk
     United States District Court of the District of Hawaii
     300 Ala Moana Boulevard , Room C-338
     Honolulu, HI 96850



     RE:    SPECIAL PROCEEDINGS NO. 18-1-0049 VLC
            COLBY JOHNSON and JASON MANGONON
            Case 1: 18-cv-00077 ~ ' ~



     Dear Ms. Beitia:

            Pursuant to RESPONDENT UNITED AIRLINES, INC.'S NOTICE OF FILING OF
     NOTICE OF REMOVAL; EXHIBIT A ; CERTIFICATE OF SERVICE, fi led February 28, 2018 ,
     transmitted herewith is a copy of th e entire First Circuit Court record as of March 2, 2018 , and
     as certified by a designated Clerk of the Court, First Circuit.


     Sincerely,




     Patsy K. Nakamoto
     Legal Documents Court Adm inistrator
     Legal Documents Branch I
     First Circuit Court, State of Hawaii


     PKN : fo
   ,  . 1:18-cv-00077-SOM-KJM
. ., Case
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       Copies of transmittal letter only mailed to:

       COLBY JOHNSON
       JASON MANGONON
       810 Richards Street, Suite 700
       Honolulu, HI 96813

       Petitioners Pro Se




       JOACHIM P. COX, ESQ.
       ROBERT K. FRICKE, ESQ.
       ABIGAIL M. HOLDEN, ESQ.
       800 Bethel Street, Suite 600
       Honolulu, HI 96813

       Attorneys for Respondent
       UNITED AIRLINES, INC.
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                IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

                                  STATE OF HAWAII

 COLBY JOHNSON et al.,                    S.P. NO. 18-1-0049 VLC

                                          CIRCUIT COURT CLERK'S
              Petitioners,                CERTIFICATE REGARDING HAWAII
                                          JUDICIAL INFORMATION SYSTEM
       vs.                                 (HAJIS)

 UNITED AIRLINES, INC.,

             Respondent.

     CIRCUIT COURT CLERK'S CERTIFICATE REGARDING HAWAII JUDICIAL
                     INFORMATION SYSTEM (HAJIS)

              I, F. Otake, Clerk of the Circuit Court of the First

 Circuit, State of Hawaii, do hereby certify that the attached

 copies of documents, as listed on the index sheets on the

 First Circuit Court Hawaii Judicial Information System (HAJIS)for

 COLBY JOHNSON et al.,       vs   UNITED AIRLINES, INC.,

 are full, true and correct copies of originals and/or on file, as

 filed and entered of record in the above-entitled matter.

              IN WITNESS WHEREOF, I have hereunto set my hand and

 Seal of this court this 02nd day of March, 2018.




                                            F. Otake, Clerk
                                            Circuit Court, First Circuit
                                            State of Hawaii
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     MANGONON, JASON               PRO SE               APS



     UNITED AIRLINES INC




                                                                                  PAGE
      2018
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                RULE 27; N/H
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